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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

CAUSE OF ACTION INSTITUTE,                )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )           Civil Action No. 19-778 (CJN)
                                          )
UNITED STATES                             )
DEPARTMENT OF COMMERCE,                   )
                                          )
            Defendant.                    )
__________________________________________)

                  JOINT MOTION TO UPDATE DEADLINES

       The parties jointly and respectfully move the Court to update the briefing

schedule in this case. On July 24, 2019, the Court granted Defendant’s motion for a

three-week extension of all deadlines in the briefing schedule. However, in its Order,

the Court reentered the existing briefing schedule. On July 29, 2019, the Clerk

likewise “Set/Reset Deadlines” with the existing briefing schedule.

       The parties believe that the Court intended to enter the following briefing

schedule, which would reflect the three-week extension that the Court granted:

   •   Defendant’s Summary Judgment Motion is due August 12, 2019;

   •   Plaintiff’s Opposition and Cross-Motion is due August 26, 2019;

   •   Defendant’s Opposition and Reply is due September 9, 2019; and

   •   Plaintiff’s Reply is due September 16, 2019.
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      In light of the foregoing, the parties respectfully request that the Court update

the briefing schedule in the manner set forth above.


Date: July 30, 2019              Respectfully submitted,

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